1431301

 

 

 

Prescription Mail Service Participating All Other

Drugs Pharmacy Pharmacy Pharmacies
*Contraceptives: Prescription Drugs will Prescription Drugs will The Member will be
Generic oral be covered at 100%, up | be covered at 100%, up | responsible for 100% of

contraceptives, generic
injections, Mirena IUD,
Nexplanon implant,
Ortho Evra patch,
Nuvaring, Ortho Flex,
Ortho Coil, Ortho Flat,
Wide-seal, Omniflex,
Prentif and Femcap-
vaginal

to a 90-day supply

to a 31 day-supply

the Allowable Charge at
the pharmacy, then will
be reimbursed at 100%,
up to a 31-day supply

 

 

**All Other
Contraceptives
(Prescription Drugs)

Covered

Covered

Non-Covered

 

 

 

 

 

 

*Contraceptives listed above are covered under the participating medical benefits at the same
payment levels. Refill quantities for the contraceptives listed above may vary.
*“All other contraceptives are paid at the Generic, Preferred Brand and Non-Preferred Brand Drug

payment levels.

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xvii

01/08

067

 
1431301

 

SPECIALTY DRUG BENEFIT

 

Participating
Pharmacy

All Other
Pharmacies

 

 

Specialty Drugs

$100 Copayment per Member for
each prescription or refill, up to a
31-day supply

Non-Covered

 

 

 

 

 

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xviii

01/08

068

 

 
1431301

 

VISION SCHEDULE OF BENEFITS

(Healthy Vision)

 

 

Vision Care Services

Participating Providers

Non-Participating Providers

 

 

 

 

 

 

 

 

 

 

Allowance
Exam with Dilation as $15 Copayment $35
Necessary
Contact Lens Fit and Follow-
Up:
Standard Contact Lens Fit and $0 Copayment $40
Two Follow-up Visits*
Premium Contact Lens Fit and 10% off retail price, then apply $40
Two Follow-up Visits ** $55 allowance
Frames (Any available frame at | $110 allowance, 20% off balance $55
provider location) over $110
Standard Plastic Lenses:
Single Vision $0 Copayment $25
Bifocal $0 Copayment $40
Trifocal $0 Copayment $55
Lens Options:
UV Coating $15 Non-Covered
Tint (Solid and Gradient) $15 Non-Covered
Standard Scratch-Resistance $15 Non-Covered
Standard Polycarbonate $40 Non-Covered
Standard Anti-Reflective $45 Non-Covered
Coating
Standard Progressive (Add-on $65 Non-Covered

to Bifocal)

Other Add-Ons and Services

20% off retail price

Non-Covered

 

 

 

 

 

Standard Contact Lens Fitting - spherical clear contact lenses in conventional wear and

planned replacement (Examples include but not limited to disposable, frequent replacement,

etc.)

Premium Contact Lens Fitting - all lens designs, materials and specialty fittings other than

Standard Contact Lenses (Examples include toric, multifocal, etc.)

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xix

01/08

069

 
1431301

 

Vision Care Services Participating Providers Non-Participating Providers

Allowance

 

 

Contact Lenses:

Conventional $0 Copayment, $110 allowance, $88

15% off balance over $110

 

 

 

 

 

Disposable $0 Copayment, $110 allowance, $88
plus balance over $110
Medically Necessary $0 Copayment, Paid-in-Full $200
Frequency:
Examination Once every 12 months
Frame Once every 24 months
Lenses or Contact Lenses Once every 24 months

 

Additional Discounts:

Member will receive a 20% discount on items not covered by the plan at Participating Providers,
which may not be combined with any other discounts or promotional offers, and the discount does
not apply to EyeMed Provider's professional services, or contact lenses. Retail prices may vary
by location.

Discounts do not apply for benefits provided by other group benefit plans. Allowances are one-
time use benefits; no remaining balance.

Lost or broken materials are not covered.

Members also receive a 40% discount off complete pair eyeglass purchases and a 15% discount
off conventional contact lenses once the funded benefit has been used.

Members also receive 15% off retail price or 5% off promotional price for Lasik or PRK from the
US Laser Network, owned and operated by LCA vision. Since Lasik or PRK vision correction is
an elective procedure, performed by specially trained providers, this discount may not always be
available from a provider in your immediate location. For a location near you and the discount
authorization please call 1-877-5LASER6.

After initial purchase, replacement contact lenses may be obtained via the Internet at substantial
savings and mailed directly to the member. Details are available at www.eyemedvisioncare.com.
The contact lens benefit allowance is not applicable to this service.

Plan Limitations/ Exclusions:

Orthoptic or vision training, subnormal vision aids, and any associated supplemental testing,
Plano non-prescription lenses and non-prescription sunglasses (except for 20% discount),
Medical and/or surgical treatment of the eye, eyes, or supporting structures,

Services or materials provided by any other group benefit providing for vision care,

Services provided as a result of any Workers’ Compensation law,

Two pairs of glasses in lieu of bifocals,

Aniseikonic lenses,

Corrective eyewear required by an employer as a condition of employment, and safety eyewear
unless specifically covered under the plan,

Benefit is not available on certain frame brands in which the manufacturer imposes a no discount
policy.

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070

 
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PREFERRED BLUE®
PLAN OF BENEFITS

 

 

South Carolina

BlueCross BlueShield of South Carolina
is an independent licensee of the
Blue Cross and Blue Shield Association

MGPBPOB-NGF 01/08

071
1431301

 

TABLE OF CONTENTS

 

TABLE OF CONTENTS

ARTICLE I - DEFINITIONS

ARTICLE IJ —- ELIGIBILITY FOR COVERAGE

QAR SOR >

ARTICLE III —- BENEFITS

POOR DP

 

 

17

 

ELIGIBILITY

17

 

PRE-EXISTING CONDITION WAITING PERIOD

17

 

CREDITABLE COVERAGE

18

 

ELECTION OF COVERAGE

18

 

COMMENCEMENT OF COVERAGE

19

 

DEPENDENT CHILD’S ENROLLMENT

20

 

DISCLOSURE OF MEDICAL INFORMATION

21

 

21

 

PAYMENT

21

 

PRE-AUTHORIZATION

21

 

ASSIGNMENT OF COVERED EXPENSES

22

 

SPECIFIC COVERED BENEFITS

22

 

BENEFITS

22

 

ALLERGY INJECTIONS

22

 

AMBULANCE

23

 

CHIROPRACTIC SERVICES

23

 

CLEFT LIP OR PALATE

23

 

COLORECTAL CANCER SCREENING

24

 

DENTAL CARE FOR ACCIDENTAL INJURY

24

 

DIABETES EDUCATION

24

 

DISEASE MANAGEMENT PROGRAM

24

 

DURABLE MEDICAL EQUIPMENT

24

 

EMERGENCY MEDICAL CARE

24

 

GYNECOLOGICAL EXAMINATION

24

 

HEALTH QUESTIONS HOTLINE

24

 

HOME HEALTH CARE

25

 

HOSPICE CARE

25

 

HOSPITAL AND SKILLED NURSING FACILITY SERVICES

cavencvscvoossessnessoseossesesssvossenses 25

25

 

HUMAN ORGAN AND TISSUE TRANSPLANTS
IN-HOSPITAL MEDICAL SERVICE

26

 

MAMMOGRAPHY TESTING

27

 

MATERNITY MANAGEMENT PROGRAM

27

 

MEDICAL SUPPLIES

27

 

MGPBPOB-NGF

01/08

072
1431301

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MENTAL HEALTH CONDITIONS 27
MENTAL HEALTH SERVICES 27
OBSTETRICAL SERVICES 27
ONLINE HEALTH ASSESSMENT PROGRAM 27
ORTHOPEDIC DEVICES 27
ORTHOTIC DEVICES 28
OUTPATIENT HOSPITAL AND AMBULATORY SURGICAL CENTER SERVICES ...28
OUTPATIENT REHABILITATION SERVICES 28
OXYGEN 28
PAP SMEAR 28
PHYSICAL EXAMINATION 28
PHYSICIAN SERVICES 28
PRESCRIPTION DRUGS 28
PROSTATE EXAMINATION 29
PROSTHETIC DEVICES 29
RECONSTRUCTIVE SURGERY FOLLOWING MASTECTOMIIEG..........ssscscsscssesscsensseens 29
REHABILITATION 29
ROUTINE ANNUAL BENEFITS 30
SPECIALTY DRUGS 30
SUBSTANCE ABUSE SERVICES 30
SURGICAL SERVICES 30
ARTICLE IV - EXCLUSIONS AND LIMITATIONS 31
ACUPUNCTURE 31
ACTS OF WAR 31
ADMISSIONS THAT ARE NOT PRE-AUTHORIZED 31
BENEFITS PROVIDED UNDER ANY LAW 32
BENEFITS PROVIDED BY STATE OR FEDERAL PROGRAMA ..........c.scsssssssesecsssssevereers 32
COMPLICATIONS FROM FAILURE TO COMPLETE TREATMENT .........ccccssssssccneseee 32
COMPLICATIONS FROM NON-COVERED SERVICES 32
CONTRACEPTIVES 32
COPYING CHARGES 32
COSMETIC SERVICES 32
CUSTODIAL OR LONG-TERM CARE SERVICES 33
DENTAL SERVICES 33
DISCOUNT SERVICES 33
EYEGLASSES 34
FOOD SUPPLEMENTS 34
FOOT CARE 34
HEARING AIDS 34
HUMAN ORGAN AND TISSUE TRANSPLANTS 34
IMMUNIZATIONS 34
IMPACTED TOOTH REMOVAL 34
IMPOTENCE 34
INCAPACITATED DEPENDENTS 34
INFERTILITY 35
INPATIENT DIAGNOSTIC AND EVALUATIVE PROCEDURE G..........cccssssssescsseveccoeossens 35
INJURY OR ILLNESS RESULTING FROM CRIMINAL ACTIVITY .........ccscccsserssecsssees 35

MGPBPOB-NGF 01/08

073
ARTICLE V - COORDINATION OF BENEFITS

ARTICLE VI— TERMINATION OF THIS PLAN OF BENEFITS

A.

TOM ROO RD

1431301

INVESTIGATIONAL OR EXPERIMENTAL SERVICES

35

 

LIFESTYLE IMPROVEMENT SERVICES

35

 

MASSAGE THERAPY

35

 

 

MEMBERSHIP DUES AND OTHER FEES
MISSED PROVIDER APPOINTMENTS

35
35

 

NO LEGAL OBLIGATION TO PAY

35

 

NOT MEDICALLY NECESSARY SERVICES OR SUPPLIES

35

 

OBESITY RELATED PROCEDURES

36

 

ORTHOGNATHIC SURGERY

36

 

OUTPATIENT SERVICES THAT ARE NOT PRE-AUTHORIZED ..........ccsscsssssseveerses

OVER-THE-COUNTER DRUGS

serene 36

36

 

PAIN MANAGEMENT PROGRAMS

36

 

PHYSICAL THERAPY ADMISSIONS

36

 

PHYSICIAN CHARGES

36

 

PRE-EXISTING CONDITIONS

36

 

PRE-MARITAL AND PRE-EMPLOYMENT EXAMINATION G.........cccosscsssccesesssecssese

PRE-OPERATIVE ANESTHESIA CONSULTATION

vosees 37

37

 

PRESCRIPTION DRUG EXCLUSIONS

37

 

PSYCHOLOGICAL AND EDUCATIONAL TESTING

38

 

RELATIONSHIP COUNSELING

38

 

SERVICES FOR CERTAIN DIAGNOSES OR DISORDERS

38

 

SERVICES NOT LISTED AS COVERED BENEFITS

38

 

SERVICES PRIOR TO MEMBER EFFECTIVE DATE OR PLAN OF BENEFITS
EFFECTIVE DATE

38

 

SERVICES RENDERED BY FAMILY

38

 

SERVICES RESULTING FROM INTOXICATION OR DRUG USE ........ccsscssssesssesesers

SEX CHANGE

vavees 39

39

 

SMOKING CESSATION TREATMENT

39

 

39

 

TEMPOROMANDIBULAR JOINT (TMJ) DISORDER
TRAVEL

39

 

VIRTUAL OFFICE VISITS

39

 

VISION CARE

39

 

WORKERS’ COMPENSATION

39

 

40

 

APPLICABILITY

40

 

COORDINATION OF BENEFITS WITH AUTO INSURANCE ........cccssscsscsssosseeesesecnece

ORDER OF DETERMINATION RULES

veces 40

40

 

RULES

40

 

EFFECT ON BENEFITS OF THIS PLAN OF BENEFITS

42

 

RIGHT TO RECEIVE AND RELEASE NEEDED INFORMATION ........scsssssssvesssosesees

PAYMENT

cavees 42

42

 

RIGHT OF RECOVERY

43

 

 

GENERALLY

43

43

 

MGPBPOB-NGF

01/08

074
1431301

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

B. | TERMINATION FOR FAILURE TO PAY PREMIUMS 43
C. TERMINATION WHILE ON LEAVE 44
D. | TERMINATION FOR LACK OF MEMBERSHIP 44
E. | UNIFORM TERMINATION OF COVERAGE 44
F. NOTICE OF TERMINATION TO MEMBERS 45
G. | REINSTATEMENT 45
H. | EXTENSION OF BENEFITS FOLLOWING TERMINATION 45
L EMPLOYER IS AGENT OF MEMBERS 45
ARTICLE VII — CONVERSION AND CONTINUATION OF COVERAGE ocscscsssesssssssssscsssescsssesees 46
A. | CONVERSION 46
B. | CONTINUATION 47
C. | QUALIFIED MEDICAL CHILD SUPPORT ORDER 51
ARTICLE VIII — SUBROGATION AND REIMBURSEMENT 52
ARTICLE IX - WORKERS’ COMPENSATION PROVISION 53
ARTICLE X — ERISA RIGHTS 54
A. | RECEIVE INFORMATION ABOUT THE PLAN OF BENEFITS ..csssssscsssssssssssssssssesconsesees 54
B. | CONTINUATION COVERAGE 54
C. | PRUDENT ACTIONS BY PLAN FIDUCIARIES 55
D. | ENFORCEMENT OF EMPLOYEE RIGHTS 55
E. ASSISTANCE WITH QUESTIONS 55
ARTICLE XI - CLAIMS FILING AND APPEAL PROCEDURES 56
A. CLAIMS FILING PROCEDURES 56
B. | APPEAL PROCEDURES FOR AN ADVERSE BENEFIT DETERMINATION .esccossesosess 59
C. | EXTERNAL REVIEW PROCEDURES 61
ARTICLE XII - GENERAL PROVISIONS 62
AMENDMENT 62
AUTHORIZED REPRESENTATIVES 62
BLUECARD PROGRAM 62
CLERICAL ERRORS 63
DISCLOSURE TO PLAN SPONSOR 64
GOVERNING LAW 65
IDENTIFICATION CARD 65
INCONTESTABILITY 65

 

MGPBPOB-NGF 01/08

075
INFORMATION AND RECORDS

1431301

66

 

LEGAL ACTIONS

66

 

MEMBERSHIP APPLICATION

66

 

 

NEGLIGENCE OR MALPRACTICE
NOTICES

66
66

 

NO WAIVER OF THE CORPORATION’S RIGHTS
OTHER INSURANCE

66

 

67

 

PAYMENT OF CLAIMS

67

 

PHYSICAL EXAMINATION

67

 

REPLACEMENT COVERAGE

67

 

INDEX

MGPBPOB-NGF

68

01/08

076
1431301

 

ARTICLE | - DEFINITIONS

 

Capitalized terms that are used in this Plan of Benefits shall have the following defined meanings:

Actively at Work: a permanent, full-time employee who works at least the minimum number of hours per
week and the mininum number of weeks per year (each as set forth on the Schedule of Benefits) and
who is not absent from work during the initial enrollment period because of a leave of absence or
temporary lay-off. An absence during the initial enrollment period due to a Health Status-Related Factor
will not keep an employee from qualifying for Actively at Work status.

Admission: the period of time between a Member's admission as a patient into a Hospital or Skilled
Nursing Facility and the time the Member leaves or is discharged.

Adverse Benefit Determination: any denial, reduction or termination of, or failure to provide or make (in
whole or in part) payment for a claim for Benefits, including any such denial reduction, termination, or
failure to provide or make payment that is based on a determination of a participant’s or Member's
eligibility to participate in a plan, and including, a denial reduction or termination of, or failure to provide or
make payment (in whole or in part) for a Benefit which results from the application of any utilization review
as well as a failure to cover an item or services for which benefits are otherwise provided because it is
determined to be Experimental or Investigational or not Medically Necessary or appropriate.

Allowable Charge: the charge payable by the Corporation. The payment will not exceed the Maximum
Payment.

Alternate Recipient: any Child who is recognized under a Medical Child Support Order as having a right
to enroll in this Plan of Benefits.

Ambulatory Surgical Center: a licensed facility that:

1. Has permanent facilities and equipment for the primary purpose of performing surgical
procedures on an outpatient basis;

2. Provides treatment by or under the supervision of medical doctors or oral surgeons and provides
nursing services when the Member is in the facility;

3. Does not provide inpatient accommodations; and,

4. Is not, other than incidentally, a facility used as an office or clinic for the private practice of a
medical doctor or oral surgeon.

Ambulatory Surgical Center includes an endoscopy center.

Benefit Year: the period of time set forth on the Schedule of Benefits. The initial Benefit Year may be
more or less than twelve (12) months.

Benefit Year Deductible: the amount, if any, listed on the Schedule of Benefits that must be paid by the
Member each Benefit Year before the Corporation will pay Covered Expenses. The Benefit Year
Deductible is subtracted from the Allowable Charge before Coinsurance is calculated. Members must
refer to the Schedule of Benefits to determine if the Benefit Year Deductible applies to the Out-of-Pocket
Maximum.

MGPBPOB-NGF PAGE 1 01/08

077
